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  Via LaborPress.org: The Labor Movement ‘Must Lead
  The Opposition’ To White Supremacy
  Published Friday, August 18, 2017
  by Joe Maniscalco/LaborPress.org

                                                                                           Labor Leaders across the nation are
                                                                                           speaking out in the wake of the
                                                                                           racist violence in Charlottesville,
                                                                                           Virginia, and declaring that Trade
                                                                                           Unionists must lead the fight
                                                                                           against the rise of White Supremacy
                                                                                           in Donald Trump’s U.S.A.
                                                       “The attacks in Charlottesville
                                                       (Virginia) show the violence of
                                                       racism and White Supremacy,”
                                                       Teamsters Joint Council 16
  President George Miranda said in a statement. “We stand with Charlottesville and honor
  the memory of Heather Heyer. We also know that our Union and the Labor Movement
  must lead in the fight against White Supremacy.”
  Miranda also noted that the establishment has always sought to divide Workers based on race.
  “Unions are the ‘voice of equality and justice’ in the workplace — ‘it is our responsibility
  to unite the Working Class for racial and economic justice,’” Miranda continued.
  John Samuelsen, the International president of the Transport Workers Union of America
  (TWU), called racism a “blight” on the nation.
  “The Trade Union Movement, which has led so many fights for equality, should be a
  visible and vocal force denouncing these un-American White Supremacist Groups that
  perpetrated the violence in Charlottesville,” Samuelsen said in an e-mail. “Unions are
  Working Men and Women of all colors and creeds standing together to collectively defend
  and advance their livelihoods. That’s America, not those haters who once again
  demonstrated how much work still needs to be done to stamp out racism in America.”
  Shaun Francois, who heads American Federation of State, County & Municipal
  Employees (AFSCME) Local 372 and serves as Vice President of District Council 37, told
  LaborPress that Labor can, indeed, play a major role in the fight against racist hatred - the
  same way it did back in the turbulent 1960s.
  “Labor can play a major role just like it did back in 1968 when they had the Sanitation
  Strike (in Memphis, Tennessee),” Francois said. “We need to get back to basics and take it
  back to the streets like our forefathers and foremothers before us. Our president has a
  moral responsibility to set the mood of peace instead of igniting Violence in this country.
   We are a divided people of minority groups. Labor can play a part in organizing a
  coalition by recruiting like-minded groups and bring them together for a majority.”
https://www.wnylabortoday.com/news/2017/08/18/new-york-state-labor-news/via-laborpress.org-the-labor-movement-must-lead-the-opposition-to-whit…   1/3
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  Last week’s Unite the Right rally in Charlottesville, Virginia claimed the life of Heyer, a 32-
  year-old paralegal from the state. State Troopers Lieutenant H. Jay Cullen and Pilot Berke
  M.M. Bates also died when their helicopter crashed near the University of Virginia campus.
  Many others were also injured in the clash with Neo-Nazi and KKK marchers.
  Héctor Figueroa, president of SEIU 32BJ, invoked Dr. Martin Luther King, Jr. in his
  condemnation of the white supremacist actions that sparked the mayhem.
  “As a Union we reject these kinds of hateful actions and encourage our Members,
  Working Families and the reasonable majority to peacefully stand up against the torch-
  bearing, Nazi-saluting White Supremacists who are sowing chaos in Virginia,” Figueroa
  said.
  “As Dr. Martin Luther King Jr. said: ‘The ultimate tragedy is not the oppression and
  cruelty by the bad people, but the silence over that by the good people.’ We must
  denounce intolerance and hate, and demand that the Trump Administration reject these
  kind of hateful acts that go against the very principles of our country,” Figueroa said.
  Donald Trump, however, characterized the participants in last week’s swastika-ladened rally as
  “some very fine people.”
  Similar White Supremacists rallies are planned for this coming week.
  “Now is a moment for all Americans who believe in freedom and justice, in tolerance and
  inclusion, to stand up and speak out,” AFSCME Leaders Lee Saunders and Elissa
  McBride said in a joint statement.
  The Union is further urging fellow Trade Unionists and the public at-large to join members in
  contributing to both the Southern Poverty Law Center and the Anti-Defamation League.
  “The White Nationalism on display this weekend has no place in our communities, our
  politics or our workplaces,” Retail, Wholesale and Department Store Union (RWDSU)
  Leader Stuart Appelbaum said in a statement. “It is our responsibility to stand up against
  the hateful ideologies that have become alarmingly mainstream over the past year.”
  The RWDSU, itself, became the victim of an anti-Semitic cyber-attack earlier this month,
  necessitating in the temporary shutdown of the Union’s web site.
  National AFL-CIO President Richard Trumka released a statement calling the violence
  that took place in Charlottesville the “worst kind of evil in our world.”
  “Any response must begin with our leaders, starting with President Trump,
  acknowledging this for what it is: domestic terrorism rooted in bigotry,” Trumka said.
  To Directly Access This LaborPress.org Labor Perspective, Go To:
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    On Monuments and
    Minimum Wages
    Conservative lawmakers’ defense of
    Confederate monuments in the South is part
    of a larger subterfuge to undercut the power
    of liberal black cities.
    BY JUSTIN MILLER AUGUST 22, 2017




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    At 9 p.m. last Tuesday night, city workers began to
    enclose in plywood the Confederate monument that sits
    in Birmingham’s Linn Park. By the following a ernoon,
    Alabama A orney General Steve Marshall had
    announced that he was suing the city for violating state
    law.

    Activists in Birmingham rst began calling for the
    removal of the 52-foot Confederate Soldiers and Sailors
    monument in 2015, a er white supremacist Dylann
    Roof murdered nine parishioners in a Charleston, South
    Carolina, church.                 at, in turn, prompted Gerald Allen,
    a state senator from Tuscaloosa, to introduce the
    Alabama Memorial Preservation Act to prohibit cities
    from removing or altering historic monuments more
    than 40 years old without the approval of a state
    commi ee.               e predominantly (if not entirely) white
    Republicans who control the legislature passed the bill
    along party lines. Republican Governor Kay Ivey signed
    it into law in May.

    Birmingham Mayor William Bell ordered the
    monument to be covered amid a renewed and urgent
    call from activists and o                  cials to remove such tributes
    to the Confederacy, a er white nationalists in
    Charlo esville, Virginia, rallied around a statue of
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    Confederate General Robert E. Lee and proceeded to
    a ack counter-protesters, killing one woman. Several
    cities—from Baltimore to San Antonio—have since taken
    down Confederate monuments while others debate
    similar actions.

    Mayor Bell, who is black, says he doesn’t necessarily
    want to remove the statue—despite demands from local
    activists—but he does think it should provide a broader
    context that condemns the Confederacy, rather than
    celebrates it. “           e Confederacy was an act of sedition
    and treason against the United States of America and
    represented the continuation of human bondage of
    people of color,” Bell told the Prospect in an interview.
    “It’s anathema to anyone supportive of the United States
    government to have such a structure si ing on public
    property.”

    Furthermore, he points out, Birmingham didn’t become
    a city until 1871, during the post-Civil War
    Reconstruction era. And the monument wasn’t erected
    until 1905—50 years a er the war ended—when a local
    chapter of the United Daughters of the Confederacy
    commissioned the memorial as a gi to the city.

    “It’s my desire to no longer allow this statute to be seen
    by public until such time that we can tell the full story
    of slavery, the full story of what the Confederacy really
    meant,” Bell told reporters last week. Now, Bell says, the
    city is exploring its legal options in light of the state’s
    lawsuit.          e state a orney general is asking a district
    court to ne the city $25,000.

    “I don't believe that the legislative body has the
    authority to dictate what monuments or statues we have
    on public property.                  at’s a right that the municipal
    government should control,” Bell says. “                  is was built
    with private dollars and is now protected by the state.


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        e city should have the power to eliminate any source
    of contention and to maintain public tranquility.”

    THE STATE OF ALABAMA'S CRACKDOWN ON
    BIRMINGHAM is just its latest a empt to limit the
    authority of the majority-black city, which has a black
    mayor and a majority-black city council. In February
    2016, the Birmingham city council approved a $10.10-
    an-hour minimum wage. Two days later, the
    Republican-controlled legislature passed a law
    prohibiting Alabama cities from passing such
    ordinances and voiding a wage hike for tens of
    thousands of Birmingham’s low-wage workers.

        e experience of Birmingham is indicative of a broader
    GOP-led assault on the political power and home rule of
    Southern cities, home to large black populations, o en
    led by black politicians, and, increasingly, purveyors of
    progressive policies that seek to improve upon the low
    standards of state law. From the removal of Confederate
    monuments to the enactment of local minimum wages,
    Republican-controlled statehouses are preempting blue
    cities—and undermining black voices.

    “     ese are nothing more than 21st-century Jim Crow
    laws,” Johnathan Austin, chair of the Birmingham City
    Council, said of the monument removal and minimum-
    wage preemption laws in an interview with the Prospect.
    “     e state of Alabama is trying to control the [state’s]
    largest city—and largest black city— by prohibiting us
    from governing ourselves.”

    Twenty- ve states—including nearly every Southern
    state—have laws that prohibit cities and counties from
    se ing their own minimum wage.                           e ve states that
    have no minimum wage of their own (Alabama,
    Louisiana, Mississippi, South Carolina, Tennessee),
    adhering to the federal minimum instead, are in the
    South. Now, at least six states have laws limiting the
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    power of cities to remove Confederate monuments, with
    most passed in the last couple years. All of them are in
    the South, where Republicans control every single
    legislative chamber. Despite their calls for local control
    and fewer regulations, state Republicans are now
    regulating both the cultural and economic authority of
    localities.

    Last year, state legislators passed the Tennessee Heritage
    Preservation Act of 2016, which requires public notice,
    hearings, and a two-thirds majority vote of the
    legislature in order to remove historic monuments. In
    2015, North Carolina signed the Cultural History
    Artifact Management and Patriotism Act, an Orwellian
    amalgamation of nouns that requires a state historical
    commission to approve any removal of monuments.
    Georgia, Mississippi, and Virginia also have similar laws.

    In Memphis, a majority-black city, o                     cials are ready to
    sue the state if it denies its a new waiver request to
    remove a statue of Confederate President Je erson
    Davis downtown, as well as a statue of Confederate
    General and Ku Klux Klan founding member Nathan
    Bedford Forrest.                e move came a er the city tried and
    failed to slog its way through the byzantine maze of
    GOP-instituted regulations protecting such statues.                       e
    ma er may very well end up before the state Supreme
    Court. Legislators in Tennessee, which has the highest
    proportion of minimum-wage workers in the country,
    also passed a law in 2014 that prohibits cities from
    enacting minimum-wage ordinances higher than the
    state level, which is chained to the federal minimum of
    $7.25 an hour.

    As Barry Yeoman reported for the Prospect last week,
    protesters in Durham, North Carolina—a liberal city
    stripped of its authority to take down monuments by
    the right-wing legislature—found a way around that
    impasse by pulling down a Confederate statue
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    themselves. “I understand why people felt this was the
    most expedient way,” Jillian Johnson, an African
    American member of the city council, told Yeoman.
    “     ere was no legal way to make it happen.”

    Meanwhile, the Durham council has also been barred
    from increasing the minimum wage (save for city
    employees) by the same infamous legislation that
    restricted transgenders’ bathroom use.

    Durham is just one of dozens of Democratic-controlled
    cities—Atlanta, Birmingham, Charlo e, Charleston,
    Durham, Jackson, Nashville, Memphis, and so on, the
    blue dots in red states—which have lost the authority to
    raise wages for their (predominately black) workers
    struggling to get over the poverty line or to remove
    prominent monuments to a racist and oppressive
    ideology so their residents don’t have to see a general
        ghting for slavery looking down on them as they go to
    work.

    Republicans insist that protecting these monuments—
    the majority of which were built in the early 1900s or
    during the 1960s—are about preserving the history and
    heritage of the South. Just as they insist that prohibiting
    local increases to the minimum wage—which hasn’t
    been li ed on the federal level in eight years—is about
    protecting low-wage workers from job loss.

    In these ways, GOP lawmakers are actually
    memorializing the values of the Antebellum South:
    White supremacy and low—or, rather, no—wages.

        is ar cle has been corrected to clarify that the city of
    Memphis has not yet sued the state, but intends to if its
    waiver to remove its Confederate monuments is denied, and
    that one of the statues is of Confederate President Je erson
    Davis.



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                                  JUSTIN MILLER
                                  Justin Miller is a former Prospect
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                                  Observer.




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